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10
                                UNITED STATES DISTRICT COURT
11
                              CENTRAL DISTRICTSOUTHERN DIVISION
12
13
     EAS Technologies, LLC, a Kentucky                Case No. SACV10-1130 JVS (AJWx)
14   Limited Liability Company,
                                                      MEMORANDUM OF POINTS &
15              Plaintiff,                            AUTHORITIES IN SUPPORT OF
                                                      MOTION TO DISMISS AND STRIKE
16   v.                                               COMPLAINT FOR FAILURE TO
                                                      STATE A CLAIM UPON WHICH
17   Mathew Higbee, individually and doiing           RELIEF CAN BE GRANTED;
     business as recordgone.com and                   MOTION FOR A MORE DEFINITE
18   recordclearing.org; Law Offices of Mathew        STATEMENT
     K. Higbee, a California corporation,
19   individually and doing business as               [PROPOSED ORDER FILED
     recordgone.com and recordclearing.org;           CONCURRENTLY HEREWITH]
20   Higbee & Associates, individually and
     doing business as recordgone.com and             [Fed. R. Civ. P. 12(b)(6), (e) & (f)]
21   recordclearing.org; and Does 1-20,
     inclusive,                                       Date:      October 18, 2010
22                                                    Time:      1:30 p.m.
                Defendants.                           Courtroom: 10C
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      17515.1
                                 DEFENDANTS’ 12(B)(6), (E) & (F) MOTION
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 1   I.         INTRODUCTION AND BACKGROUND
 2              Defendant Higbee & Associates is the nation’s largest law firm dedicated to criminal
 3   record removal. The firm’s offices span across ten states and are primarily marketed
 4   through its website, recordgone.com. Recordgone.com has roughly 300 unique pages and
 5   dynamic pages that are pulled from a database of more than 1000 records. Defendant
 6   Mathew K. Higbee is an attorney licensed in six states who serves as President of the firm.
 7   The Plaintiff is a non-lawyer competitor of the Defendants, assisting with criminal record
 8   expungement through its website clearmyrecord.com.
 9              This lawsuit is the second act in an existing drama, the first act of which is pending
10   in the Orange County Superior Court. There, Defendants filed a lawsuit for interference
11   with economic advantage and unfair competition, alleging that the Plaintiff herein was
12   engaged in the unauthorized practice of law as well as providing false and misleading
13   advertising and statements of law online through its websites and paid advertisements.
14   This federal action is the retaliatory effort to the state court matter.
15              Today, the vagueness of the Complaint is at issue, which Complaint: (1) fails to
16   identify the alleged copyrighted subject matter; (2) fails to allege the alleged substantially
17   similar infringing work of which Defendant or Defendants; (3) affirmatively seeks punitive
18   damages, which are unequivocally unavailable in federal copyright litigation; and (4)
19   affirmatively seeks statutory damages and attorneys fees, which remedies are only available
20   if the federal registration predates the alleged infringement, none of which is remotely
21   alleged.
22              As a result, the Complaint leaves Defendants unaware of what the alleged copyright
23   subsists in and what the allegedly infringed subject matter even is. Defendants are unable
24   to fashion a response to such phantom allegations. Defendants should not have to bear the
25   costs of this action to find out if what Plaintiff asserts is even protectable subject matter
26   under the Copyright Act.
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28   ///
      17515.1                                           1
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 1   II.        PLAINTIFF HAS FAILED TO STATE A CLAIM UPON WHICH RELIEF
 2              CAN BE GRANTED AND, AS SUCH, THIS CASE SHOULD BE DISMISSED.
 3              A. Rule 12(b)(6) Standards
 4              Rule 12(b)(6) dismissal is proper where, assuming the facts as alleged are true, there
 5   is no “cognizable legal theory.” Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th
 6   Cir. 1990). In a motion to dismiss, a court is not required to accept legal conclusions cast
 7   in the form of factual allegations if those conclusions cannot reasonably be drawn from the
 8   facts alleged. Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). To
 9   survive a motion to dismiss, the complaint must therefore allege sufficient facts to support
10   a “claim for relief that is plausible on its face.” Bell Atlantic Corp v. Twombly, 127 S. Ct.
11   1955, 1974 (2007). Moreover, under the Supreme Court’s recent ruling in Ashcroft v.
12   Iqbal, 129 U.S. 1937 (2009), the failure of a Complaint to provide a plausible (not just
13   possible) claim for relief will result in its dismissal. As the Court wrote, “Determining
14   whether a complaint states a plausible claim for relief requires the reviewing court to draw
15   on its judicial experience and common sense.” Id. at 1950.
16         B.      Plaintiff’s Copyright Claim Is Deficient
17              A claim for copyright infringement has two elements: "(1) ownership of the
18   copyright; and (2) infringement - that the defendant copied protected elements of the
19   plaintiff's work." Three Boys Music Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir. 2000)
20   (citing Smith v. Jackson, 84 F.3d 1213, 1218 (9th Cir. 1996)); see also Kling v. Hallmark
21   Cards, Inc., 225 F.3d 1030, 1037 (9th Cir. Cal. 2000). Here, Plaintiff failed to plead
22   sufficient facts to support the second element.
23                 1.    Plaintiff Failed To Satisfy The Second Element Because It Plead
24                        Nothing More Than A Legal Conclusion Without Supportive Facts.
25              Assuming Plaintiff has the requisite standing to bring this action (it notably does not
26   attach a registration certificate or even allege it complied with the deposit requirement at
27   the Copyright Office, although it does allege it registered), this claim must fail because
28   Plaintiff has not alleged that Defendants copied any protected expression. See Mai Sys.
      17331.1                                      2
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 1   Corp. v. Peak Computer, Inc., 991 F.2d 511, 517 (9th Cir. 1993) (stating that "plaintiff
 2   must prove ownership of a copyright and a ' "copying" of protectable expression' beyond
 3   the scope of a license.") (internal citation omitted).
 4              Here, Plaintiff contends “Defendants’ recordgone.com website is substantially
 5   similar to EAS’s websites and EAS’s protected copyrighted material…defendants
 6   substantially and in effect developed their website by in effect copying and/or using
 7   portions of EAS’s copyrighted websites and databases.” Complaint ¶ 23. However, such
 8   bald legal assertions lack any factual explanation. “In addressing a motion to dismiss, the
 9   court must accept all well-pleaded facts as true and draw all reasonable inferences in the
10   plaintiff's favor. This does not mean, however, that the court must ‘swallow the plaintiff's
11   invective hook, line, and sinker.’ The court need not credit ‘bald assertions’ or
12   ‘unsupportable conclusions.’” Aulson v. Blanchard, 83 F.3d 1, 3 (1st Cir. 1996).
13              Plaintiff has merely offered a veritable “hook, line, and sinker” legal conclusion.
14   Plaintiff fails to plead a single solitary fact describing what about the website has copyright
15   protection and how the alleged infringing site is substantially similar. Plaintiff fails to
16   plead what portions of “EAS’s copyrighted websites and databases” were “in effect”
17   copied. Plaintiff fails to plead what “in effect” copying even means in this context.
18   Plaintiff fails to plead what portions of the Defendants’ 300 plus page website contains
19   allegedly infringing content. In sum, Plaintiff’s pleading simply fails.
20              Fundamentally, it is not enough to invoke this Court’s jurisdiction, and unleash the
21   expensive discovery process on a defendant, all by simply saying “something has been
22   copied somewhere we think but we can’t tell you where.” A defendant is entitled to know
23   what is alleged to be substantially similar. This is critical because copyright protection is
24   not infinitely elastic, and if Plaintiff is alleging copyright in material that is not
25   copyrightable as a matter of law, this needs to get resolved at the Rule 12 stage not the Rule
26   56 stage after Defendant has been subjected to unnecessary and expensive discovery. After
27   all, if each of the parties’ websites quote the law of a given state on expungement and this
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      17331.1                                          3
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 1   suit is about that alleged similarity, then the matter could and should be easily resolved at
 2   the Rule 12 stage.
 3          As provided in Sprewell, and of course Iqbal and Twombley, a court is not required
 4   to accept legal conclusions cast in the form of factual allegations if those conclusions
 5   cannot reasonable be drawn from the facts alleged. Under this standard, Plaintiff’s
 6   Complaint fails because it alleges no facts, just bald assertions and legal conclusions. In
 7   light of the above, Defendants respectfully request Plaintiff’s suit be dismissed under Rule
 8   12(b)(6).
 9   III.   PLAINTIFF’S CLAIM IS SO VAGUE AND AMBIGUOUS THAT
10          DEFENDANTS CANNOT REASONABLY PREPARE A RESPONSE.
11          As shown above, Plaintiff’s Complaint lacks any degree of specificity or even a
12   single supportive fact. In order for Defendants to proffer a proper response, Plaintiff must
13   clarify virtually every skeleton of an allegation made in its Complaint so as to actually
14   constitute a cognizable claim. If the claim is not dismissed under Rule 12(b)(6), then
15   Defendants request that under Rule 12(e) Plaintiff be ordered to provide a more definite
16   statement.
17          A. Rule 12(e) Standards
18          “A party may move for a more definite statement of a pleading to which a responsive
19   pleading is allowed but which is so vague or ambiguous that the party cannot reasonably
20   prepare a response.” Fed. R. Civ. Pro. 12. A Rule 12(e) motion is proper where the
21   complaint is so indefinite that the defendant cannot ascertain the nature of the claim being
22   asserted. “The proper test in evaluating a motion under Rule 12(e) is whether the
23   complaint provides the defendant with a sufficient basis to frame his responsive pleadings."
24   Federal Sav. and Loan Ins. Corp. v. Musacchio, 695 F. Supp. 1053, 1060 (N.D. Cal. 1988).
25   Generally, the Court will require a more definite statement when the pleading is “so vague
26   or ambiguous that the opposing party cannot respond, even with a simple denial, in good
27   faith or without prejudice to himself.” Delta Educ., Inc. v. Langlois, 719 F. Supp. 42, 50
28   (D.N.H. 1989) (quoting 5 C. Wright, A. Miller & M. Kane, Federal Practice and Procedure
      17331.1                                   4
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 1   § 1376); see also Cellars v. Pacific Coast Packaging, Inc., 189 F.R.D. 575, 578 (N.D. Cal.
 2   1999).
 3          B.    More Detail Is Needed
 4          Here, Plaintiff has served Defendants with only an ambiguous conclusion without
 5   supportive facts. Plaintiff only asserts Defendants “substantially and in effect developed
 6   their website by in effect copying and/or using portions of EAS’s copyrighted websites and
 7   databases.” Complaint ¶ 23. Defendants cannot frame a response without understanding
 8   how the websites are allegedly substantially similar, what portions are similar in a
 9   copyright sense? Is Plaintiff alleging the idea of criminal expungment website? Is Plaintiff
10   asserting copyright protection in a color scheme of a web site? Is Plaintiff alleging
11   copyright ownership over a recitation of the law of criminal expungement? Any number of
12   things could be at issue: graphics, text, layout, design, color scheme, navigation,
13   programming code, etc. Critically, some of these website elements are not even protectible
14   subject matter as a matter of law. Without further information, Defendants are simply
15   unable to defend themselves and stand to get forced into meritless and very expensive
16   federal copyright litigation in order to possibly wait for resolution at the Rule 56 stage if it
17   turns out Plaintiff is seeking copyright in that which is unprotected under the Copyright
18   Act.
19          To be sure, it is not onerous to ask a Plaintiff who, surely in light of Rule 11, has
20   concluded that two works are substantially similar, to actually allege what Plaintiff claims a
21   copyright in and then which components of Defendants’ site are substantially similar.
22   Indeed, normally in copyright cases as this Court knows, exhibits are attached or at least
23   significant detail is adduced so that the claim itself can be understood and subjected to
24   testing at the Rule 12 stage. Finally, the need to plead proper detail is all the more
25   important since Plaintiff has charged not just the defendant law corporation with copyright
26   infringement but also an individual lawyer from the law corporation, seemingly treating the
27   two as the same for purposes of the Copyright Act. As such, Defendants respectfully
28   request the Court grant this motion for a more definite statement.
      17331.1                                     5
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 1   IV.        PLAINTIFF SEEKS REMEDIES NOT AVAILABLE UNDER THE
 2              COPYRIGHT ACT AND SUCH CLAIMS MUST BE STRICKEN.
 3              Defendants recognize that motions to strike are generally disfavored. But, requests
 4   for relief that are categorically unavailable at law are surely more disfavored. Defendants
 5   have attempted to appeal to the Plaintiff’s counsel’s professional responsibilities in
 6   requesting that they amend their Complaint to withdraw claims for punitive damages.
 7   Unfortunately, these efforts have failed. As a result, this motion to strike must follow.
 8          A motion to strike under Rule 12(f) is proper where Plaintiff alleges claims or matters
 9   that are improper under the law and should be stricken from the Complaint, but where the
10   removal of such matters does not warrant a dismissal of the claim. See Fantasy, Inc. v.
11   Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on other grounds, 510 U.S. 517. In
12   other words, Rule 12(f) is designed for excision of material from pleadings if not dismissal
13   of claims entirely. Here, the relief sought by Plaintiff is improper under the law and should
14   be excised from its pleadings.
15              A.    Punitive Damages Are Indisputably Unavailable.
16              Punitive damages are simply unavailable under the Copyright Act. Plaintiff cannot
17   point to a single piece of case law or federal statute that even remotely suggests the
18   availability of punitive damages for claims of copyright infringement. Irrespective of this
19   lack of support, Plaintiff has alleged claims for punitive damages and prayed for punitive
20   and exemplary damages. Complaint ¶ 30 and Prayer ¶ 6.
21              As such, there is no good faith basis for the request and it should be amended
22   immediately. As Judge Richard Posner has unequivocally observed, the Copyright Act
23   “contains no provision for punitive damages.” Bucklew v. Hawkins, Ash, Baptie & Co.,
24   329 F.3d 923, 931-32 (7th Cir. 2003). Judge Posner’s conclusion is universally shared. As
25   David Nimmer, the author of the leading treatise on copyright law, states: “[t]he cases are
26   clear that exemplary or punitive damages should not be awarded in a statutory copyright
27   infringement action.” 4 Nimmer & Nimmer, Nimmer on Copyright, section 14.02.
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      17331.1                                          6
                                    DEFENDANTS’ 12(B)(6), (E) & (F) MOTION
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 1          The real question before this Court, then, is why Defendants have been required to
 2   expend significant resources to seek such basic relief; Plaintiff’s recalcitrance is sanction
 3   worthy. Accordingly, the punitive damages claim (Complaint ¶ 30) and prayer for relief
 4   (Prayer ¶ 6) should be stricken.
 5          B.     Statutory Damages And Attorneys’ Fees Require Copyright
 6               Registration Prior To Infringement.
 7          In addition, the Court should strike the request for statutory damages and attorneys’
 8   fees. Complaint ¶ 29 & Prayer ¶¶ 3 & 8. Those remedies are not available where the
 9   copyright registration is filed after the infringement is alleged to occur. Singh v. Famous
10   Overseas, Inc., 680 F. Supp. 533, 536 (E.D.N.Y. 1988); see 17 U.S.C. § 412 (“[N]o award
11   of statutory damages or of attorney’s fees . . . shall be made for . . . any infringement of
12   copyright commenced after first publication of the work and before the effective date of its
13   registration.”).
14          Here, Plaintiff cannot qualify for statutory damages or the recovery of attorneys’ fees
15   as the effective date of the registration here did not occur before any conceivable alleged
16   infringement. The Plaintiff pleads its website has been live since 2006 (Complaint ¶ 14)
17   and that it has only now “applied for copyright registration” (Id. ¶ 21), although there is
18   still no registration or even proof of application.1 That four year break forever bars a claim
19   for statutory damages or fees because the work was published over four years before the
20   current registration, which post-dates the alleged infringement. As such, there is no good
21   faith basis for the relief requested and the request should be stricken, or, consistent with the
22   Rule 12(e) request above, the Plaintiff should actually allege when the alleged infringement
23   occurred, when the alleged copyrighted subject matter was created, and when the alleged
24
25   1
              Plaintiff’s allegation that it has “applied” is itself insufficient under the law, which
     requires and application and deposit materials to have a “complete” application.          See
26   Cosmetic Ideas, Inc. v. IAC/Interactivecorp., 606 F.3d 612, 621-22 (9th Cir. 2010)
     (allegation that Copyright Office received a complete application was sufficient to confer
27   standing). We note Plaintiff does not plead it has filed a complete application, so it should
     also on its amended pleading clarify that in fact its application was a “complete” one as
28   required by Cosmetic Ideas.
      17331.1                                           7
                                DEFENDANTS’ 12(B)(6), (E) & (F) MOTION
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 1   registration was filed. If Plaintiff can plead within the above law of § 412, then it should
 2   do so with appropriate detail in an amended pleading.
 3              C.    Plaintiff’s “Use” Allegation Is Irrelevant to Copyright Law.
 4              Plaintiff alleges copying. Complaint ¶ 23. But Plaintiff also pleads as an additional
 5   claim that in addition to copying Defendants have “used” the alleged copyrighted materials.
 6   Complaint ¶¶ 23-25. “Use” is not one of the Copyright Act’s touchstones, which Act
 7   protects the unauthorized violation of several exclusive rights, see generally 17 U.S.C. §
 8   106 (reproduction, adaptation, distribution, performance, display), none of which make
 9   actionable the “use” of a copyrighted work independent of a violation of the exclusive
10   rights. “Use” of another’s work (as embodied in claims of a patent), in contrast, is the
11   province of the Patent Act. See 35 U.S.C. § 271(a).
12              Here, Plaintiff has not explained with any clarity what it means by “use,” and the
13   allegations should either be stricken or it should be explained in greater detail under Rule
14   12(e) so that the Complaint may be tested. Defendants’ vague allegation that Plaintiff has
15   no right to “use EAS’s copyrighted material” (Complaint ¶ 25) when juxtaposed against
16   other distinct allegations of copying is simply legally meritless. There is no patent alleged
17   to cover the database or website, and “use” alone is not unlawful under the Copyright Act.
18   One may “use” U2’s CD (such as while driving to work), and that act is not an
19   infringement of U2’s copyright, unless in “using” U2’s work one also violates one of the
20   exclusive rights, such as by illegally copying it first.
21              Accordingly, Plaintiff’s allegations of “use” as distinct from the allegations of
22   copying are simply incoherent and imply a non-copying use type claim; at a minimum such
23   vagaries should be pled clearly within the confines of the exclusive rights under the
24   Copyright Act if it is to be a claim. If the use allegations are intended to render actionable
25   the use of a work without a concurrent violation of the exclusive rights, then they should be
26   struck as immaterial to the copyright claim as pled here which addresses alleged “copying.”
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      17331.1                                           8
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 1              D.    There Is No Right of Attribution for a Website or Database.
 2              Plaintiff also appears to make an attribution claim. Complaint ¶ 24. However, any
 3   lack of attribution, even assuming an unlawful act of copying, is not actionable because the
 4   Copyright Act does not require attribution absent narrow circumstances under the Visual
 5   Artists Rights Act of 1990 (“VARA”). VARA’s attribution right only applies to narrow
 6   classes of visual art, such as original paintings, sculptures or drawings or limited editions
 7   prints of less than 200. 17 U.S.C. §§ 106A(a) & (b), 101. These limited attribution rights
 8   do not apply to websites or databases, nor can they be transferred from the artists to the
 9   entity (such as EAS). 17 U.S.C. § 106A(e). To the extent, Plaintiff is claiming a violation
10   of attribution rights in paragraph 24, that paragraph should be stricken, indeed the claim (to
11   the extent it is one) dismissed, as immaterial and not legally cognizable.
12   V.         CONCLUSION.
13              Defendants respectfully request Plaintiff’s copyright claim be dismissed.
14   Alternatively, Defendants respectfully request Plaintiff provide a more definite statement of
15   its copyright claim. Thus, in either event the Plaintiff should be ordered to file an amended
16   pleading. Moreover, Plaintiff requests the Court strike the improper requests for punitive
17   damages, statutory damages and attorneys’ fees.
18
19
20   Dated: September 20, 2010               ONE LLP
21
22
                                             By: /s/ Peter R. Afrasiabi
23
                                                 Peter R. Afrasiabi
24                                               Attorneys for Defendants, Mathew Higbee, Law
                                                 Offices of Mathew K. Higbee, and Higbee &
25
                                                 Associates (individually and dba recordgone.com
26                                               and recordclearing.org)
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